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                                                                                         12/6/2019
                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       LYNCHBURG DIVISION


 CURTIS CRAIG LITTLEJOHN,                               CASE NO. 6:19-CV-00082
                                 Plaintiff,
         v.                                             ORDER

 JAMES ELLIOT, et al.,
                                                        JUDGE NORMAN K. MOON
                                 Defendants.

        This matter is before the Court on Plaintiff’s application to proceed in forma pauperis

under 28 U.S.C. § 1915. Section 1915(e)(2) provides that a “court shall dismiss the case

[proceeding in forma pauperis] at any time if the court determines that . . . the action or appeal is

frivolous . . . .” Plaintiff’s action is frivolous, and so the case will be dismissed.

        Plaintiff brings suit against the Lynchburg Department of Taxation and James Elliot,

whom Plaintiff identifies as a tax attorney alleging that the two are impermissibly foreclosing on

his residential property located in New York state. Dkt. 2. Plaintiff asks this Court to issue a

restraining order to halt the foreclosure of his property in lieu of installment payments. Dkt. 2 at

4. Plaintiff complains that the Defendants are demanding full repayment of a mortgage debt

owed to them—“70 percent of the money is from interest accrued”—and he appears to admit

delinquency on his loan payments. Id. at 5. Plaintiff claims that by demanding that he now repay

the entire mortgage amount at once, the Defendants are violating his rights under “the Bill of

Rights and Article 1, Section 10 of the United States Constitution Circa 1971.” Id.

        “A document filed pro se is to be liberally construed, and a pro se complaint, however

inartfully pleaded, must be held to less stringent standards than formal pleadings drafted by

lawyers.” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (internal quotations and citations omitted).
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More generally, “[p]leadings must be construed so as to do justice.” Fed. R. Civ. P. 8(e). Even so

construed, Plaintiff’s claim is frivolous as stated. Plaintiff cannot merely state the facts of his

case then cite to two incredibly generalized portions of the U.S. Constitution. Federal courts have

limited jurisdiction, Gunn v. Minton, 568 U.S. 251, 256 (2013), and if Plaintiff hopes to invoke

this Court’s jurisdiction through “federal question” jurisdiction, as he indicated in his complaint,

Dkt. 2 at 3, he must make some effort to connect the wrongs he claims to have suffered to federal

law. Plaintiff’s complaint fails to do this. See, Gunn v. Minton, 568 U.S. at 256–59.

       Because of these fatal defects, Plaintiff’s application to proceed in forma pauperis is

GRANTED, but his action is DISMISSED as frivolous; and the case is STRICKEN from the

active docket of the Court.

       The Clerk of the Court is also directed to send a certified copy of this Order to Plaintiff.

                     6th day of December, 2019.
       Entered this _____




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